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                       EXHIBIT A
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  _____________________________________
  In the Matter of L.C.               )
                                      )
  SEBASTIAN CORREA MORALES            )                      Case No. 1:24-cv-07951
                                      )
                        Petitioner,   )                      [PROPOSED] AMENDED
                                      )                      PRETRIAL SCHEDULE
  vs.                                 )
                                      )
  JULIANA ESCOBAR RESTREPO,           )
                                      )
                        Respondent.   )
  ____________________________________)

  The Convention on the Civil Aspects of International Child Abduction, done at The Hague
  on October 25, 1980; International Child Abduction Remedies Act, 22 U.S.C. 9001 et seq.

         Before the Court is the Verified Petition for the Return of the Child to Colombia (the

  “Petition”) filed by the Petitioner, Sebastian Correa Morales (the “Petitioner”), against the

  Respondent, Juliana Escobar Restrepo (the “Respondent”) pursuant to The Hague Convention on

  the Civil Aspects of International Child Abduction and the International Child Abduction

  Remedies Act (“ICARA”) [ECF No. 1]. On December 19, 2024, the parties filed a stipulation

  proposing a joint pretrial schedule [ECF No. 13]. On December 23, 2024, the Court issued an order

  granting the stipulation with a few modifications. In light of these modifications and the

  continuance of the trial dates, the parties have conferred and agreed to an Amended Pretrial

  Schedule. Upon the consent of both parties, as evidenced by the signatures of their respective

  counsel below, it is hereby:

       ORDERED, that the evidentiary hearing currently scheduled for February 5 and 6, 2025 is

  postponed to and shall now be rescheduled to a date convenient to the Court during the second

  week of February, excluding February 11, 2025; and it is further
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       ORDERED, that the parties shall file responses to Motions in Limine no later than January

  13, 2025; and it is further

       ORDERED, that the parties shall exchange Proposed Exhibits, Exhibit Lists and Witness

  Lists no later than January 20, 2025; and it is further

       ORDERED, that the parties shall each file Proposed Exhibit Lists and Witness Lists no later

  than January 23, 2025; and it is further

       ORDERED, that the parties shall each file Proposed Findings of Fact and Conclusions of

  Law, as well as Pretrial Briefs not to exceed five (5) pages, addressing the legal issues before the

  Court and outlining their anticipated witness testimony and evidence, by January 31, 2025; and it

  is further

       ORDERED, that the parties shall each submit to the Court hard copies of their Proposed

  Exhibits on the Friday before trial.



  IT IS SO ORDERED.

  Dated this ____ day of _________________, 2024.




                                                   BY THE COURT:



                                                   _____________________________________
                                                   Natasha C. Merle
                                                   United States District Judge


  SEEN AND APPROVED AS TO FORM AND CONTENT:


  By: /s/ Richard Min                                                 By: /s/ Edgar L. Fankbonner
  Richard Min                                                         Edgar L. Fankbonner
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  Sebastian Correa Morales                              Juliana Escobar Restrepo
